                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 ALVA ADVANCE LLC,                                 )
                                                   )
        Petitioner,                                )
                                                   )
                       v.                          )      Civil Action No. 1:23-cv-10189-AK
                                                   )
                                                   )
 WILLIAM H III ALTIERI                             )
      Respondent,                                  )
                                                   )


                                     ENTRY OF DEFAULT
       Petitioner Alva Advance, LLC requests that the clerk of court enter default against

Respondent William H III Altieri (a.k.a. William H Altieri, III) pursuant to Federal Rule of Civil

Procedure 55(a). It appearing from the record that Respondent William H III Altieri (a.k.a.

William H Altieri, III) has failed to appear, plead or otherwise defend, the default of is hereby

entered pursuant to Federal Rule of Civil Procedure 55(a).

       Dated this _________ day of ___________________, 2023.




                                      ______________________________________________
                                                  Robert M. Farrell, Clerk of Court
